UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

MICHAEL A. KOWALCZUK,
Plaintiff,
Vv. Case No. 2:19-cv-1230

SERGEANT ERIC GIESE and
VILLAGE OF MOUNT PLEASANT,

Defendants.

 

DECLARATION OF MATTHEW SOENS IN
SUPPORT OF MOTION FOR SUMMARY JUDGMENT

 

I, Matthew Soens, declare pursuant to 28 U.S.C. § 1746, as follows:

i Iam employed by the Village of Mt. Pleasant as the Chief of Police. I have served
as the Chief of Police since 2019 and have been a law enforcement officer for 24 years.

2. I have reviewed the training records for Officer Eric Giese. As of the date of the
incident, Officer Giese’s training was up to date, including training on the use of a Taser.

Os Subsequent to the incident, Officer Giese became an instructor on the use of Tasers
and conducts training classes for law enforcement officers on their use.

VERIFICATION
I declare under penalty of perjury that the foregoing is true and correct.
Dated May 27, 2020.

LVbte (1 PTA SONS

Matthew Soens, Village of Mt. Pleasant Chief of Police

 

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